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                     UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF FLORIDA


 _____________________________________
                                                     )
 United States of America                            )
                                                     )   Case No. 6:11-cr-22-Orl-22GJK
 Petitioners,                                        )
                                                     )
 v.                                                  )
                                                     )
 RAFAELA DUTRA TORO                                  )
 _______________________________________________     )

      EMEREGENCY MOTION FOR CONTINUANCE OF SENTENCING

         Emilord Orcullo, Jessie Panaguitan, Teresita Aquino, Jim Cacalda, Jocelyn

 Cacalda, Loida Resurrecion, Loreto Espinoza, Sabrina Tan, and Tim Tulio hereby

 move this Court to continue the sentencing in this matter scheduled for January 26,

 2012 so that they may be meaningfully heard.

         Docket entries 99-1, 99-1, 99-2, 99-3, 99-4, 99-5 and 99-6 are not readable

 through the ECF system because the scans are only partial scans of the documents.

 These documents appear to be documents submitted in connection with the H-2B

 applications of the victims and may support the victims’ claims if the victims are

 able to review the documents in their entirety, instead of the partial scans that exist

 in the ECF docket entries. The requested continuance is necessary for movants to

 seek full documentation of 99-1, 99-1, 99-2, 99-3, 99-4, 99-5 and 99-6.
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       Because of local rules limiting admission of counsel who are not admitted to

 the Florida state bar, the movants in this matter were unable to file their motion for

 continuance earlier despite due diligence of counsel in obtaining pro hac vice

 admission and an ECF account with this Court.

       Pursuant to 18 U.S.C. § 3771 the victims have statutory rights to reasonable

 notice of these proceedings; to be reasonably heard at any public proceedings

 involving the plea and sentencing. Their right to reasonable, accurate, and timely

 notice of these proceedings and their right to be reasonably heard at sentencing will

 become moot if their motion for continuance of the sentencing is not granted.

 United States v. Cone, 2009 U.S. Dist. LEXIS 74253 (M.D. Fla. Aug. 12,

 2009)(motion to deny motion to vacate POF’s pursuant to CVRA moot after Court

 granted motion).

       The grounds for this motion and accompanying motions are explained in the

 accompanying supporting memorandum.

       Accordingly, movants have established good cause for the requested

 continuance so they may be meaningfully heard pursuant to the Crime Victims

 Rights Act (“CVRA”), 18 U.S.C. § 3771.
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      Respectfully submitted this 25th day of January, 2012.

                                            s/Chris Pooley
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                                   CERTIFICATION

 Pursuant to Local Rule 3.01(g), movants, through counsel, have made a good faith
 effort to confer with the other parties to this action in an effort to resolve the issues
 raised by this motion.
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 U.S. v. RAFAELA DUTRO TORO                    Case No 6:11-cr-22-Orl-22GJK

                            CERTIFICATE OF SERVICE


       I hereby certify that on January 25, 2012, I submitted the foregoing with the

 Clerk of the Court which will send a notice of electronic filing to the following:

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